          Case 3:97-cr-03306-H               Document 211            Filed 04/25/16          PageID.392          Page 1 of 2

AO 2456 (CASDRev. 08(13) Judgment in a Criminal Case


                                   UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA
      UNITED STATES OF AMERICA                       NINTH AMENDED JUDGMENT IN A CRIMINAL CASE
                        V.                                  (For Offenses Committed On or After November I, 1987)
BERNARDO ARMANDO DELACERRA (1)
                                                                         Case Number:       97CR3306-H

                                                     Nancee S. Schwartz
                                                     Defendant' 5 Attorney
REGISTRA TlON NO.                00052-196

IZI The joint motion to amend the judgment to reflect a sentence of time served as of April 26, 2016 is Granted.
IZI pleaded guilty to count(s)       2 of the Indictment.
                                   ---------------------------------------------------------------------------
    was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is acUudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Section                   Nature of Offense                                                                    Number(s)
21 USC 841(a)(t);                 DISTRIBUTION OF HEROfN                                                                     2
18 USC 2




     The defendant is sentenced as provided in pages 2 through                  2         of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZI Count(s)   remaining                                      are           dismissed on the motion of the United States.
                ------~---------------------
 IZI Assessment: $100.00 waived.


 IZI Fine waived                   Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     June 24. 2015
                                                                     Date of Imposition of Sentence
                   FILED
                     APR 25 2016                                     UNITED STATES DISTRICT JUDGE
            CLERK US DIS I HICT COURT
         SOUTHERN DIS THIC r     Al FORNIA
         BY                        DEPUTY
                                                                                                                         97CR3306-H
         Case 3:97-cr-03306-H           Document 211        Filed 04/25/16       PageID.393        Page 2 of 2

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                BERNARDO ARMANDO DELACERRA (I)                                           Judgment - Page 2 of2
CASE NUMBER:              97CR3306-H



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED AS OF APRIL 26,2016.




       Sentence imposed pursuant to Title 8 USC Section 1326{b).
 IZ1   The court makes the following recommendations to the Bureau of Prisons:
       That the Defendant be housed at the Metropolitan Correction Center (MCC) San Diego during the
       remainder of his time in federal custody.




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at
                 ----------------- A.M.                       on
                                                                   -----------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to -----------------------------­
 at _____________ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                       By                   DEPUTY UNITED STATES MARSHAL


                                                                                                           97CR3306-H
